                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

ENDO PHARMACEUTICALS INC. and                           )
MALLINCKRODT LLC,                                       )
                                                        )
                       Plaintiffs,                      )          C. A. No. 14-1386-RGA
                                                        )
       V.                                               )
                                                            )
SUN PHARMACEUTICAL INDUSTRIES , LTD .,                      )
RANBAXY INC. and RANBAXY                                    )
PHARMACEUTICALS INC. ,                                      )
                                                            )
                       Defendants.                          )



                        STIPULATION AND ORDER OF DISMISSAL
                        PURSUANT TO FED. R. CIV. P. 41{a){l){A)(ii)




       On this day, pursuant to the letter to the Court dated August 30, 2018 and for the reasons

set forth therein, Plaintiffs and Counter-Defendants Endo Pharmaceuticals Inc. and Mallinckrodt

LLC and Defendants and Counter-Claimants Sun Pharmaceutical Industries, Ltd., Ranbaxy Inc.

and Ranbaxy Pharmaceuticals Inc. (collectively, the "Parties"), through their undersigned

counsel, hereby stipulate and agree, pursuant to Fed. R. Civ. P. 4l(a)(l)(A)(ii), as follows:

       I.      All claims and counterclaims in the above-captioned action are dismissed without

prejudice, with all attorneys ' fees , costs of court and expenses being borne by each party

incurring the same.

       2.      Paragraphs 2 and 3 of the Stipulation and Order entered in this matter on February

18, 2016 (D.I. 95) shall remain in full force and effect.

       3.      Nothing herein is intended to or shall have any impact on any claims, defenses or

counterclaims asserted by Plaintiffs or Defendants in any other actions between them or in any
other actions involving the patents-in-suit. Nothing herein is intended to or shall have any

preclusive effect in any other actions.   The partial judgment of invalidity of U.S. Patent No.

8,808,737 (see D.I. 91 and 92) shall be vacated upon entry of this Stipulation and Order by the

Court.




Isl Stephen J Kraftschik                             Isl Jason J Rawnsley
Jack B. Blumenfeld (#1014)                          Frederick L. Cottrell, III (#2555)
Stephen J. Kraftschik (#5623)                       Jason J. Rawnsley (#5379)
MORRIS, NICHOLS, ARSHT & TUNNELL LLP                RICHARDS, L AYTON & FINGER, P.A.
 1201 N. Market Street                              920 North King Street
Wilmington, DE 19801                                Wilmington, DE 19801
(302) 658-9200                                      (302) 651-7700
jblumenfeld@mnat.com                                cottrell@rlf.com
skraftschik@ mnat.com                               rawnsley@ rlf.com

 Attorneys for Plaintiffs and Counter               Attorneys for Defendants and Counter
 Defendants                                         Claimants


 Dated: August 30, 2018


                SO ORDERED this -1l_ day of_A-iJ
                                             _ ~+-t_ _ _ _ , 2018.




                                                                   Richard G . Andrews




                                                2
